EXHIBIT C
               SHAN CROSS BY MS. KAMATH                                           324


11:38AM    1   A.     I DIDN'T.

11:38AM    2   Q.     YOU JUST STATED YOU SIGNED THIS AGREEMENT.

11:38AM    3   A.     YEAH, BECAUSE MR. WANG GAVE THIS AGREEMENT TO ME.   HE

11:38AM    4   DRAFTED THIS AGREEMENT.

11:38AM    5   Q.     IT DOESN'T MATTER WHO DRAFTED IT.    THAT'S NOT WHAT I ASKED

11:38AM    6   YOU.    YOU SIGNED THIS AGREEMENT KNOWING THE TERMS OF THIS

11:38AM    7   COLLABORATION AGREEMENT IN EXHIBIT 2 AND 2A; RIGHT?

11:38AM    8   A.     YES.

11:38AM    9   Q.     AND YOU HAD KNOWLEDGE THAT THIS WAS FOR MR. GANGYOU WANG'S

11:38AM   10   IMMIGRATION; RIGHT?

11:38AM   11   A.     UHsHUH, UHsHUH.

11:38AM   12   Q.     AND WITH THAT KNOWLEDGE, YOU SIGNED THIS AGREEMENT; RIGHT?

11:38AM   13   A.     YEAH.

11:38AM   14   Q.     AND SO ARE YOU STATING THAT YOU WERE PART OF THE

11:38AM   15   IMMIGRATION SHAM IN SIGNING THIS AGREEMENT FOR GANGYOU WANG FOR

11:38AM   16   HIS IMMIGRATION?

11:38AM   17   A.     NO, NO.   BECAUSE THIS IS HIS INTENTION, HIS INTENTION.     SO

11:38AM   18   THIS IS NOT REAL EXECUTED.

11:39AM   19   Q.     WHERE ON THIS EXHIBIT FOR 2 AND 2A DO I FIND THE WORDS

11:39AM   20   "IMMIGRATION" FOR Ls1?

11:39AM   21   A.     I COULDN'T FIND.    BUT AT THE END OF 2013 WHEN MR. WANG,

11:39AM   22   THROUGH FRIENDS, TALKING TO US AND HIS PURPOSE IS FOR HIS Ls1

11:39AM   23   VISA.

11:39AM   24   Q.     IN YOUR DIRECT YOU STATED THAT MR. WANG INVESTED

11:39AM   25   $1 MILLION; RIGHT?



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               SHAN DIRECT BY MR. LI                                            286


10:09AM    1        (PAUSE IN PROCEEDINGS.)

10:10AM    2   BY MR. LI:

10:10AM    3   Q.   JUST FLIP THROUGH IT.      WE DON'T HAVE A LOT OF TIME.   JUST

10:10AM    4   FLIP THROUGH IT AND LET ME KNOW IF YOU RECOGNIZE IT.

10:10AM    5        LET ME HELP YOU OUT.      CAN I DIRECT YOUR ATTENTION TO THE

10:10AM    6   SECOND PAGE OF EXHIBIT 66, WHICH HAS A BATES NUMBER, WHAT WE

10:10AM    7   CALL A BATES NUMBER IS HU 1575.

10:10AM    8        LET ME HELP YOU.

10:10AM    9   A.   THAT'S OKAY.

10:10AM   10   Q.   YEAH.   SO SECOND PAGE.

10:10AM   11   A.   UHsHUH.

10:10AM   12   Q.   THE BATES NUMBER IS HERE.

10:11AM   13   A.   OKAY.

10:11AM   14   Q.   AND SO FOR THE RECORD, IT'S BATES NUMBER 1575.

10:11AM   15        DO YOU SEE YOUR OWN SIGNATURE ss

10:11AM   16   A.   YES.

10:11AM   17   Q.   ss ON THAT PAGE?

10:11AM   18        YES.    OKAY.

10:11AM   19        DO YOU REMEMBER SIGNING THIS DOCUMENT?

10:11AM   20   A.   YES.

10:11AM   21   Q.   AND SO NOW DO YOU REMEMBER SEEING THIS DOCUMENT BEFORE?

10:11AM   22   A.   YES.

10:11AM   23   Q.   YEAH.   SO THERE'S ANOTHER SIGNATURE ON THE SAME PAGE.

10:11AM   24        DO YOU RECOGNIZE THAT SIGNATURE?

10:11AM   25   A.   IT'S JUST HIS ss MR. WANG'S LAWYER, MR. HU.



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